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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                          *     CRIMINAL NO.21-177

v                                                 *     SECTION:      "8"
SEAN MARTIN                                       *

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                                        FACTUAL BASIS

         The above-named defendant, SEAN MARTIN, has agreed to plead guilty as charged to

Count 2 of the Indictment. Count 2 charges     MARTIN with      possession with the intent to distribute

a   kilogram or more of a mixture or substance containing a detectable amount of heroin, 400 grams

or more of a mixture or substance containing a detectable amount of fentanyl, and a quantity of a

mixture or substance containing   a detectable amount   of cocaine hydrochloride, in violation of Title

21, United States Code, Sections 841(a)(l), 841(bX1XA), and 841(bXl)(C).

          Should this matter have proceeded to trial, the United States of America would have proven

beyond a reasonable doubt, through the introduction of relevant, competent, and admissible

testimonial, physical and demonstrative evidence, the following facts to support the allegations

against defendant SEAN      MARTIN'

          In late 2019, DEA and FBI conducted a wiretap investigation of a drug trafficking

organization based in the New Orleans area, of which SEAN MARTIN, SEAN ESPRIT, and

others were members. On October       23,2}lg,the Honorable Sarah S. Vance, United        States District


Judge, Eastern District of Louisiana, issued an order under miscellaneous number l9-MC-12245,

authorizing the interception of wire and electronic communications of a telephone assigned
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number (504) 201-6450, which MARTIN used. The wiretap lasted approximately 30 days from

late October 2019 to late November 2019.

       After listening for a few days, agents realized that MARTIN was extremely guarded on

the phone. He never spoke overtly about drugs and arranged meetings by referencing locations

known   to   counterparties based   on prior interactions without giving specific        addresses.

Nonetheless, agents were able to determine based on calls, geolocation information on   MARTIN's

phone, and surveillance that   MARTIN was going to an area near the Esplanade at City         Park

apartments   in conjunction with making deals. They were ultimately able to determine that

MARTIN's son, co-defendant SEAN ESPRIT, had an apartment there. Agents                    obtained

surveillance footage from the apartments showing MARTIN accessing ESPRIT's apartment

before going to meet individuals to conduct drugs transactions. They thus came to believe that

MARTIN     was using ESPRIT's apartment as a stash location.

       On November 18, 2019, DEA obtained a search warrant for ESPRIT's apartment. The

following day, agents waited at the apartment until ESPRIT left and then executed the warrant

surreptitiously. They entered the apartment around I l:00 a.m. Once inside the apartment, DEA

agents searched the ceiling in the bathroom, where they seized several bags containing narcotics.

Those narcotics were later tested by the DEA laboratory, which revealed the   following: (l)   one


bag containing a mixture of heroin and fentanyl weighing 250.54 grams; (2) one bag containing

heroin weighing 647 .17 grams; (3) 9 bags containing a mixture of heroin and fentanyl weighing

285 grams; (4) one bag containing a mixture of heroin and fentanyl weighing 13.9 grams; (5) 2

bags containing a mixture of heroin and fentanyl weighing 13.38 grams; (6) two bags containing

heroin, weighing 36.62 grams; (7) one bag containing heroin and cocaine weighing 8.24 grams;


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and (8) two bags containing cocaine hydrochloride weighing 13.86 grams. In total, DEA seized

562.82 grams of a mixture of heroin and fentanyl;683.79 grams of heroin; 8.24 grams of a mixture

of heroin and cocaine; and 13.86 grams of cocaine hydrochloride.

       MARTIN admits that he exercised knowing joint constructive                 possession   of the drugs

found during the search of ESPRIT's apartment.         MARTIN       admits that he accessed the stash prior

to making sales and that he possessed the drugs found there with the intent to distribute them.

       This proffer of evidence is not intended to constitute a complete statement of all facts

known by the government, but rather is a minimum statement of facts intended to prove the

necessary factual predicate for the guilty plea. The limited purpose of this proffer is to demonstrate

that there exists a sufficient legal and factual basis for     MARTIN's    plea of guilty to these crimes.

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    VID                                         (Date)
Assistant United States Attorney


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          for Defendant



SEAN MARTIN
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                                                (Date)
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Defendant




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